           Case 2:04-cr-00366-WBS Document 50 Filed 09/02/05 Page 1 of 4


1    QUIN DENVIR, Bar #49374
     Federal Defender
2    DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     DANIEL WALLACE SMITH
6
7
                        IN THE UNITED STATES DISTRICT COURT
8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,          )   NO. CR.S. 04-0366-WBS
11                                      )
                     Plaintiff,         )
12                                      )   STIPULATION AND ORDER RE
               v.                       )   CONTINUANCE OF STATUS HEARING AND
13                                      )   FINDINGS OF EXCLUDABLE TIME
     SHERYL DENISE DAVIS and DANIEL     )
14   WALLACE SMITH,                     )   DATE: October 19, 2005
                                        )   TIME: 9:00 a.m.
15                   Defendant.         )   JUDGE: Hon. William B. Shubb
                                        )
16   _______________________________
17          DANIEL WALLACE SMITH, by and through his counsel, DENNIS S.
18   WAKS, Supervising Assistant Federal Defender, defendant SHERYL DAVIS by
19   and through her counsel, C. EMMETT MAHLE, and the United States
20   Government, by and through its counsel, ROBIN R. TAYLOR, Assistant
21   United States Attorney, hereby agree that the status conference set for
22   September 7, 2005 be continued to October 19, 2005 at 9:00 a.m.          This
23   continuance is requested because the Federal Defenders Office was
24   recently appointed to this case and has received over 1200 pages of
25   discovery which will require additional time to review.          The defendants
26   in this case consent to this continuance.
27          Accordingly, all counsel, along with Mr. Smith and Ms. Davis
28   agree that the time from September 7, 2005 through October 19, 2005
           Case 2:04-cr-00366-WBS Document 50 Filed 09/02/05 Page 2 of 4


1    should be excluded in computing the time within which trial must
2    commence under the Speedy Trial Act, §3161(h)(8)(B)(iv) and Local Code
3    T4. [reasonable time to prepare].
4    DATED: August 31, 2005
5                                     Respectfully submitted,
6                                     QUIN DENVIR
                                      Federal Defender
7
                                      /S/ Dennis S. Waks
8                                     ________________________________
                                      DENNIS S. WAKS
9                                     Supervising Assistant Federal Defender
                                      Attorney for Defendant
10                                    DANIEL WALLACE SMITH
11
     DATED: August 31, 2005
12
                                      /S/ Dennis S. Waks for
13
                                      EMMETT MAHLE, Esq.
14                                    Attorney for Defendant
                                      SHERYL DAVIS
15
16                                    McGREGOR SCOTT
                                      United States Attorney
17
     DATE: August 31, 2005
18                                    /S/ Dennis S. Waks for
                                      _______________________________
19                                    ROBIN R. TAYLOR
                                      Assistant United States Attorney
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            Case 2:04-cr-00366-WBS Document 50 Filed 09/02/05 Page 3 of 4


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5    Attorney for Defendant
     DANIEL WALLACE SMITH
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7
                         IN THE UNITED STATES DISTRICT COURT
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                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,           )   NO. CR.S. 04-0366-WBS
11                                       )
                      Plaintiff,         )
12                                       )   ORDER RE CONTINUANCE OF STATUS
                v.                       )   HEARING AND FINDINGS OF
13                                       )   EXCLUDABLE TIME
     SHERYL DENISE DAVIS and DANIEL      )
14   WALLACE SMITH,                      )   DATE: October 19, 2005
                                         )   TIME: 9:00 a.m.
15                    Defendant.         )   JUDGE: Hon. William B. Shubb
                                         )
16   _______________________________
17
18
                                   ORDER AND FINDINGS
19
20           The new status conference is set for October 19, 2005 at 9:00
21   a.m.   The court finds that the interests of justice are best served and
22   the public interest is protected by granting the continuance in the
23   above-captioned matter.     Accordingly, time under the Speedy Trial Act
24   is excluded from September 7, 2005, through October 19, 2005, in
25   computing the time within which trial must commence under the Speedy
26   ///
27   ///
28   ///
     ///


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              Case 2:04-cr-00366-WBS Document 50 Filed 09/02/05 Page 4 of 4


1    Trial Act, pursuant to Title 18 U.S.C. § 3161(h)(8)(B)(iv) and Local
2    Code T4. (reasonable time to prepare.)
3    DATED:    August 31, 2005
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